Case 08-14631-GMB Doc 503-3 Filed 07/09/08 Entered 07/09/08 12:22:50   Desc
                 Exhibit C - Invoices - Expenses Page 1 of 2




                         EXHIBIT C
        Case 08-14631-GMB Doc 503-3 Filed 07/09/08 Entered 07/09/08 12:22:50                          Desc
                         Exhibit C - Invoices - Expenses Page 2 of 2
 7/8/2008                                           Halperin Battaglia Raicht, LLP
 3:24 PM                                                       Listing                                Page      1


                                                          Selection Criteria

Slip.Date                  6/1/2008 - 6/30/2008
Clie.Selection             Include: Shapes-CC
Slip.Slip Type             Expense




Slip ID                                             Attorney
  Dates and Time                                    Activity
  Status                                            Client
  Description                                       Reference                        Units     Rate      Slip Value
175791                     EXP                      DHL                                  1   404.40          404.40
  6/1/2008                                          Transcript
  WIP                                               Shapes-CC
  Transcript cost.

177112                     EXP                      MAMG                                1      1.26            1.26
  6/30/2008                                         Postage
  WIP                                               Shapes-CC
  Postage for the month.

177113                    EXP                       MAMG                             1235      0.20          247.00
  6/30/2008                                         Photocopies
  WIP                                               Shapes-CC
  Photocopy charges for the month.

177114                      EXP                     ADH                                 1     41.00           41.00
  6/30/2008                                         Transportation
  WIP                                               Shapes-CC
  Rail, mass transit and/or car service expenses.

177314                      EXP                     JBM                                 1     18.40           18.40
  6/30/2008                                         PACER
  WIP                                               Shapes-CC
  Public access to court electronic records.

177315                     EXP                      JBM                                 1      8.98            8.98
  6/30/2008                                         Westlaw
  WIP                                               Shapes-CC
  Westlaw online legal research usage.


Grand Total
                                                    Billable                         0.00                    721.04
                                                    Unbillable                       0.00                      0.00
                                                    Total                            0.00                    721.04
